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           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                    CENTRAL DIVISION

UNITED STATES OF AMERICA                                       PLAINTIFF

v.                       No. 4:23-cr-131-DPM

MICHAEL BRYANT                                               DEFENDANT

          GENERAL CRIMINAL SCHEDULING ORDER

     The Court orders the following schedule to move this case
forward fairly and efficiently to a prompt resolution.

      Sixty Days Before Trial Date—Government Experts and
        Motion to Suppress Deadline

        o If the defendant requests, the United States must provide
          the written summary about expert testimony required by
          Federal Rule of Criminal Procedure 16(a)(1)(G).

        o Motions to suppress evidence must be filed at least sixty
          days before trial. Responses are due within fourteen days
          of filing.

      Thirty Days Before Trial Date—Defense Experts and Joint
        Report

        o If the Government requests, the defendant must provide
          the written summary about expert testimony required by
          Federal Rule of Criminal Procedure 16(b)(1)(C).
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        o The parties must file a Joint Report answering these
          questions:

             1.   Is this case ready for trial or a plea?

             2.   If trial-ready, how many six-hour days are needed?

             3.   If a party intends to seek a continuance, how long a
                  delay will be requested and why?

      Twenty-One Days Before Trial Date

        o In trial-ready cases:

             1.   File any pre-trial motions. A response to any motion is
                  due seven calendar days after the motion is filed; and

             2.   File notice of submitting proposed jury instructions to
                  chambers. Focus on and submit only elements
                  instructions, citing models and authority; the Court
                  will use standard introductory and closing
                  instructions.

        o In cases that are not trial-ready or where a guilty plea will
          be offered, do one of two things:

             1.   Get a plea date set with chambers and submit the
                  proposed plea agreement to chambers; or

             2.   File a motion for continuance.




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     So Ordered.


                                 __________________________
                                 D.P. Marshall Jr.
                                 United States District Judge

                                  27 September 2023




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